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              EXHIBIT 73                                  


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 8   Attorneys for Plaintiffs

 9

10                                  UNITED STATES DISTRICT COURT
11                                NORTHERN DISTRICT OF CALIFORNIA
                                       SAN FRANCISCO DIVISION
12

13
     BRAYDEN STARK and JUDD OOSTYEN, on
     behalf of themselves and all others similarly   Case No. 3:22-cv-03131-JCS
14
     situated,
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                    Plaintiffs,                      PLAINTIFFS BRAYDEN STARK’S
16        v.                                         AND JUDD OOSTYEN’S AMENDED
                                                     RESPONSES AND OBJECTIONS TO
17                                                   PATREON, INC.’S
     PATREON, INC.,
                                                     INTERROGATORIES TO
18
                      Defendant.                     PLAINTIFFS, SET ONE
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       PLAINTIFFS BRAYDEN STARK’S AND JUDD OOSTYEN’S AMENDED RESPONSES AND OBJECTIONS TO
                       PATREON, INC.’S INTERROGATORIES TO PLAINTIFFS, SET ONE
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 1          Plaintiffs Brayden Stark and Judd Oostyen (“Plaintiffs”) hereby submit the following amended

 2   objections and responses to Defendant Patreon, Inc.’s (“Patreon” or “Defendant”) Interrogatories to

 3   Plaintiffs, Set One (“Interrogatories”), dated August 16, 2023. All responses to the following

 4   Interrogatories are based on information currently known to Plaintiffs and are provided without

 5   prejudice to Plaintiffs’ right to submit evidence of any subsequently discovered facts and information,

 6   should such become known. Plaintiffs anticipate that as investigation and trial preparation continue, it is

 7   possible that additional facts may become known, which may in turn warrant additions to or changes in

 8   the responses provided herein. These responses are made in a good faith effort to supply such

 9   information as is presently known to Plaintiffs. These responses and objections are made without

10   prejudice to, and are not a waiver of, Plaintiffs’ right to rely on other facts or documents at trial.

11   Plaintiffs reserve the right to amend, supplement, or otherwise modify these responses and objections in

12   accordance with Rule 26(e).

13          Plaintiffs’ responses or objections to an Interrogatory or part of an Interrogatory are not an

14   admission of any fact set forth or assumed by that Interrogatory. In addition, each of Plaintiffs’

15   responses to an Interrogatory or part of an Interrogatory is not a waiver of part or all of any objection

16   Plaintiffs might make to that Interrogatory, or an admission that such answer or objection constitutes

17   admissible evidence.

18                          PLAINTIFFS’ RESPONSES TO INTERROGATORIES

19   INTERROGATORY NO. 1

20          Identify by name the officers or employees of Patreon who had actual knowledge that Patreon’s

21   use of the Meta Pixel resulted in the disclosure of YOUR personal information to Meta, at the time such

22   disclosure was allegedly made.

23   RESPONSE

24          Plaintiffs object to this Interrogatory as overbroad, unduly burdensome, oppressive, and not

25   proportional to the needs of the case as the identify of all officers and employees at Patreon, as well as

26   their respective job functions, is not publicly available information and cannot be obtained through a

27   diligent investigation of Plaintiffs’ own records. Plaintiffs further object to this Interrogatory as

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 1   overbroad, unduly burdensome, oppressive, and not proportional to the needs of the case because it asks

 2   Plaintiffs to identity Patreon officers and employees during each conceivable disclosure of the personal

 3   information to Meta via the Meta Pixel, which is information exclusively known to Patreon and/or Meta

 4   and has not been produced in this litigation. Plaintiffs further object to this Interrogatory as irrelevant, as

 5   Plaintiffs’ knowledge of what specific Patreon officers or employees knew regarding the Meta Pixel’s

 6   disclosure of Plaintiffs’ personal information to Meta is neither an element of their claims nor a defense

 7   thereto. Plaintiffs object to this Interrogatory on the grounds that it is premature pursuant to Federal Rule

 8   of Civil Procedure 33(a)(2). Plaintiffs further object to the phrase “actual knowledge” as vague and

 9   ambiguous, as it is unclear what is sufficient to constitute “actual knowledge” in the context of this

10   Interrogatory.

11          Subject to and without waiving the foregoing objections, Plaintiffs provide the following

12   response:

13          Plaintiffs do not personally know the specific identity of any officers or employees of Patreon

14   who had actual knowledge that Patreon’s use of the Meta Pixel resulted in the disclosure of Plaintiffs’

15   personal information to Meta. Plaintiffs understand that discovery has revealed the following persons

16   with knowledge that Patreon’s use of the Meta Pixel resulted in the disclosure of Plaintiffs’ personal

17   information to Meta: Jason Byttow; Emily Metcalfe; Alyssa DeSangro; Jason Bilog; John Principe;

18   Atish Das Sarma; Rory Brown; Sarah Penna; Brian Keller; Matt Cheetham; Robin Fontaine; Gearoid

19   O’Connor; Kenna Nelson; Carlos Fahan; Sibei Mi; Henry Bryant; Megan Wiley; Lisa Yip; Jared Smith;

20   Errol Schmall; SarahRose Fathi; Maura Church; and Grace Woods.

21   INTERROGATORY NO. 2

22          State the basis for your assertion that Patreon is a “Video Tape Service Provider,” as the term is

23   defined in the Video Privacy Protection Act, 18 U.S.C. § 2710.

24   RESPONSE

25          Plaintiffs object to this Interrogatory on the grounds that it is premature pursuant to Federal Rule

26   of Civil Procedure 33(a)(2). Plaintiffs further object to this Interrogatory to the extent that it seeks

27   premature disclosure of expert information. Plaintiffs will produce expert report(s) pursuant to the

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 1   deadlines established by Federal Rule of Civil Procedure 26, court order, and/or the agreement of the

 2   parties.

 3              Subject to and without waiving the foregoing objections, Plaintiffs provide the following

 4   response:

 5              Patreon is a “Video Tape Service Provider,” as the term is defined in the Video Privacy

 6   Protection Act, 18 U.S.C. § 2710 because it is engaged in the business of selling and delivering

 7   prerecorded and available on demand video content from content creators on the Patreon website to their

 8   subscribers or patrons.

 9   INTERROGATORY NO. 3

10              State the name and address of any current or former employee of Girard Sharp LLP with whom

11   YOU had a personal or professional relationship prior to the filing of this lawsuit.

12   RESPONSE

13              Plaintiffs object to this Interrogatory as overbroad, not proportional to the needs of the case, and

14   irrelevant as the identity and address of current or former employee of Girard Sharp LLP do not relate to

15   Plaintiffs’ claims or any defense thereto. Plaintiffs further object to this Interrogatory to the extent it

16   seeks information related to non-parties who have no affiliation with this litigation. Plaintiffs further

17   object to this Interrogatory to the extent it seeks information that would violate the right to privacy of

18   non-parties to this litigation.

19              Subject to and without waiving the foregoing objections, Plaintiffs provide the following

20   response:

21              Plaintiffs did not have any personal or professional relationship with any current or former

22   employee of Girard Sharp LLP prior to filing this lawsuit other than the professional relationship that

23   was necessarily established in order to initiate the lawsuit.

24   INTERROGATORY NO. 4

25              State the date YOU first learned of tracking pixels and how YOU learned of them.

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 1   RESPONSE

 2           Plaintiffs object to this Interrogatory as overbroad, unduly burdensome, oppressive, not

 3   proportional to the needs of the case, and irrelevant to the extent it seeks information related to any

 4   tracking pixel other than the Meta Pixel. Plaintiffs further object to the phrase “tracking pixels” as vague

 5   and ambiguous, as Plaintiffs’ allegations only pertain to the Meta Pixel. Plaintiffs further object to this

 6   Interrogatory to the extent it seeks the precise date on which Plaintiffs first learned of tracking pixels, as

 7   such information is not proportional to the needs of the case. Plaintiffs further object to this

 8   Interrogatory to the extent it seeks information protected from disclosure by the attorney-client privilege,

 9   constituting attorney work product, or subject to any other relevant protections.

10           Subject to and without waiving the foregoing objections, Plaintiffs provide the following

11   response:

12           Plaintiff Stark has been aware for several years that companies utilize tracking pixels in order to

13   track and monetize users’ activity online. Plaintiff Stark learned about tracking pixels when the

14   television program Adam Ruins Everything aired an episode regarding online tracking pixels and

15   through YouTube videos on the topic. Plaintiff Stark did not know that Patreon had implemented a Meta

16   Pixel or what information it collects until shortly before filing this lawsuit.

17           Plaintiff Oostyen became aware of tracking pixels in the time period immediately preceding the

18   filing of this lawsuit. Plaintiff Oostyen did not know that Patreon had implemented a Meta Pixel or what

19   information it collects until shortly before filing this lawsuit.

20   AMENDED RESPONSE

21           Plaintiff Stark has been aware for several years that companies utilize tracking pixels in order to

22   track and monetize users’ activity online. Plaintiff Stark learned about tracking pixels when the

23   television program Adam Ruins Everything aired an episode regarding online tracking pixels and

24   through YouTube videos on the topic. Plaintiff Stark did not know that Patreon had implemented a Meta

25   Pixel or begin to understand what information it collects until on or around May 12, 2022. His

26   understanding of Patreon’s implementation of the Meta Pixel and the information it collects continued to

27   develop after that date.

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 1           Plaintiff Oostyen became aware of tracking pixels in the time period preceding the filing of this

 2   lawsuit. Plaintiff Oostyen did not know that Patreon had implemented a Meta Pixel or begin to

 3   understand what information it collects until spring 2022. His understanding of Patreon’s

 4   implementation of the Meta Pixel and the information it collects continued to develop after that date.

 5   INTERROGATORY NO. 5

 6           State the date YOU first learned of Patreon’s use of tracking pixels and how YOU learned of

 7   this.

 8   RESPONSE

 9           Plaintiffs object to this Interrogatory as overbroad, unduly burdensome, oppressive, not

10   proportional to the needs of the case, and irrelevant to the extent it seeks information related to any

11   tracking pixel other than the Meta Pixel. Plaintiffs further object to the phrase “tracking pixels” as vague

12   and ambiguous, as Plaintiffs’ allegations only pertain to the Meta Pixel. Plaintiffs further object to this

13   Interrogatory to the extent it seeks the precise date on which Plaintiffs first learned of Patreon’s use of

14   tracking pixels, as such information is not proportional to the needs of the case. Plaintiffs further object

15   to this Interrogatory to the extent it seeks information protected from disclosure by the attorney-client

16   privilege, constituting attorney work product, or subject to any other relevant protections.

17           Subject to and without waiving the foregoing objections, Plaintiffs provide the following

18   response:

19           Plaintiffs first became aware of Patreon’s use tracking pixels in the time period immediately

20   preceding the filing of this lawsuit.

21   INTERROGATORY NO. 6

22           Identify the personal information YOU allege Patreon shared with Meta through use of the Meta

23   Pixel and the basis for that understanding.

24   RESPONSE

25           Plaintiffs object to this Interrogatory to the extent that it seeks premature disclosure of expert

26   information. Plaintiffs will produce expert report(s) pursuant to the deadlines established by Federal

27   Rule of Civil Procedure 26, court order, and/or the agreement of the parties. Plaintiffs further object to

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 1   this Interrogatory to the extent it seeks information protected by the attorney-client privilege, attorney

 2   work product doctrine, or any other applicable privilege.

 3           Subject to and without waiving the foregoing objections, Plaintiffs provide the following

 4   response:

 5           Plaintiffs allege that at least the following personal information is shared with Meta through the

 6   use of the Meta Pixel: the titles of prerecorded video content users view on Patreon’s website; Facebook

 7   IDs; IP addresses; names; emails; and phone numbers.

 8   INTERROGATORY NO. 7

 9           State the name and address of every person who has, or at any point had, access to any device

10   from which you have logged into your Patreon account or has had access to your Patreon account as a

11   result of you sharing your credentials with those persons.

12   RESPONSE

13           Plaintiffs object to this Interrogatory as overbroad, unduly burdensome, oppressive, not

14   proportional to the needs of the case, and irrelevant as it seeks the identity of every individual who could

15   conceivably access any device from which Plaintiffs logged into their Patreon accounts during an

16   indefinite period of time, thereby encompassing an indeterminate number of potential individuals.

17   Plaintiffs further object to this Interrogatory as overbroad, unduly burdensome, oppressive, not

18   proportional to the needs of the case, and irrelevant as it seeks the identities and addresses of non-parties

19   to this litigation. Plaintiffs further object to this Interrogatory to the extent it seeks information that

20   would violate the right to privacy of non-parties to this litigation.

21           Subject to and without waiving the foregoing objections, Plaintiffs provide the following

22   response:

23           Neither Plaintiff Stark nor Plaintiff Oostyen allowed another person to access their Patreon

24   accounts as a result of sharing their credentials with that person.

25           Plaintiff Stark further responds that other individuals, including his former girlfriend and friends,

26   may have used the laptop on which he logged into his Patreon account, but they would only have done

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 1   so while in his presence and would not have accessed Patreon’s website. To the extent it is necessary to

 2   contact these individuals, Patreon should only do so through Plaintiffs’ counsel.

 3          Plaintiff Oostyen further responds that no other person would have accessed another device from

 4   which he logged into his Patreon account.

 5   INTERROGATORY NO. 8

 6          Paragraph 67 of the First Amended Class Action Complaint alleges, “Patreon’s wrongful

 7   acquisition and use of their personal and private information deprived Plaintiffs and Class members of

 8   control over that information and prevented them from realizing its full value for themselves.” (Dkt. 41).

 9   State the “full value” of YOUR personal and private information and how YOU would have realized it.

10   RESPONSE

11          Plaintiffs object to this Interrogatory to the extent that it seeks premature disclosure of expert

12   information. Plaintiffs will produce expert report(s) pursuant to the deadlines established by Federal

13   Rule of Civil Procedure 26, court order, and/or the agreement of the parties.

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15   Dated: November 10, 2023                                 Respectfully submitted,

16                                                            By: /s/ Reid Gaa
                                                              Adam E. Polk (SBN 273000)
17                                                            Simon S. Grille (SBN 294914)
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                                                              Attorneys for Plaintiffs
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        PLAINTIFFS BRAYDEN STARK’S AND JUDD OOSTYEN’S AMENDED RESPONSES AND OBJECTIONS TO
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 1                                           PROOF OF SERVICE

 2          I, Anne von Goetz, hereby declare as follows:

 3          I am employed by Girard Sharp LLP, 601 California Street, Suite 1400, San Francisco,

 4   California 94108. I am over the age of eighteen years and am not a party to this action. On November

 5   10, 2023, I served the below document by electronic mail:

 6          1.     PLAINTIFFS BRAYDEN STARK’S AND JUDD OOSTYEN AMENDED
                   RESPONSES AND OBJECTIONS TO PATREON, INC.’S INTERROGATORIES
 7                 TO PLAINTIFF, SET ONE
 8

 9   on:

10    Fred Norton                                           Leslie Cooper Vigen
      Nathan Walker                                         UNITED STATES DEPARTMENT
11    Bree Hann                                             OF JUSTICE
12    Gil Walton                                            1100 L Street, NW
      THE NORTON LAW FIRM PC                                Washington, DC 20005
13    299 Third Street, Suite 200                           Telephone: (202) 305-0727
      Oakland, CA 94607                                     Email: leslie.vigen@usdoj.gov
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      Email: fnorton@nortonlaw.com                          Counsel for United States
15    Email: nwalker@nortonlaw.com
16    Email: bhann@nortonlaw.com
      Email: gwalton@nortonlaw.com
17
      Counsel for Patreon, Inc.
18

19

20          I declare under penalty of perjury under the laws of the United States that the above is true and

21   correct. Executed on November 10, 2023.
22

23                                                /s/ Anne von Goetz
                                                  Anne von Goetz
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        PLAINTIFFS BRAYDEN STARK’S AND JUDD OOSTYEN’S AMENDED RESPONSES AND OBJECTIONS TO
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